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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                                 11/05/2020
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 NORTH AMERICA PHOTON INFOTECH LTD.,


                                                Plaintiff,                    ORDER SCHEDULING TELEPHONE
                                                                              CONFERENCE
                             -against-
                                                                              20-CV-2180 (JPC)


 ZOOMINFO LLC,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me for settlement purposes (docket no. 107). A

telephone conference will be held on Monday, November 23, 2020 at 12:45 p.m. in advance of

a settlement conference. The parties are directed to review Judge Parker’s Individual Practices

at http://nysd.uscourts.gov/judge/Parker concerning settlement conferences in advance of the

call. Counsel for the parties are directed to call Judge Parker’s Chambers court conference line

at the scheduled time. Please dial (866) 434-5269, Access code: 4858267.

         SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
